 :::•,;:;,::::..~h~dtl;
                                                            "JO :~!.,:~::~~~~;:~•=ml
                                                         hcr,m
                                                                      .
                                             Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 1 of 21

                                                                            . ,[/,  :~,::,~:.,:::                                                 <equ•~ hy
 provided by local rules of court This orm. approved by the Jud1c1al Conference of the Cmted States m September 1974. 1s reqwred for the use of the Clerk of Court for the
                                                                                                                                                                                                                         I=    ~"Pl•
 purpose of 1mttatmg the CIVl! docket sheet (SFF INSTl/UCTJONS ON IVFXT PAUE OF THIS FORM i

 I. (a) PLAINTIFFS                                                                                                                 DEFEN'DA~1S
     JOHN MAHONEY on behalf of himself and all ot                                                                                 CBD AMERICAN SHAMAN, LLC

          (b)   County     of Residence of first            Listed Plamt1ff                                                        County of Residence ofF,rst Listed Defendant
                                             /EXC'FP IJN VS PLAJNT1J. F                                                                                            f!N US PLAIN71FF CASF.SO",lYJ
                                                                                                                                    NOTE      1"1 LA1'D CONDLMNA TIO'-: C ASE.S. l'SE THE LOCA TlO'J OF
                                                                                                                                              THE TRACT OF LA1''D INVOLVLD


      (C) Attorneys (} irm Name Address and Telephone Nun er)                                                                       Attorneys IJ/ Known1
     David S Glanzberg. Esq . Robert M Tobia.
     PC 123 S              Broad Street, Ste                1640,          Philadelphia. PA
     981-5400

 II. BASIS OF JrRIS                                                                                                  III. CITIZENSHIP OF PRJ:!'lCIP AL PARTIES IP/ace an                                      X m One Bo~ for Plarnt1ff
                                                                                                                               (for lilveml) Cases Only)                                             and One Box for Defendam1
     7    '   L S (.rovenunent                                                                                                                              PTF      DEF                                            PTF      DEF
                 Plamt,ff                                              ([; S novernmenr No, a Party)                      (\llzen of Tins State             :7 I     :7      1   Incorporated o, Pnnc1pal Place       :7 4   :7 4
                                                                                                                                                                                   of Bus.mess In This State

     "J         5 ( 1overoment                      cl 4         D1vers11)'                                               C'1t1zen of Another State         :7 2     cJ 2        Incorporated and Pnnc1pal Place             :75    :75
                 Defendant                                         (lnd1cate C111zenshlp of Parlles m Item 1111                                                                     of Busmess In Another State

                                                                                                                                                            :J 3     .:,         Fore1gn Natton



 I                               .
 IV. 1'iATl:RE OF Sl:IT r?lacean r· mOne Box Only)
                                     W,;!%
                                                       "
                                                                !Ill       .                                          .                                               Chck here for Nnturr of '-u1t Code Dc~cnm,ons
                                                                                                                                                                                                  w                                           I

 :7       I IO Iosurance                               PERSONAL INJL'RY                      PERSONAL INJl'RY             :7 625 Drug Related Seizure          :7 422 Appeal 28 LSC' 158              :7 3'5 False Clauns Act
 ,
 "J 120
    l 30
                Manne
                MIiler Act
                                                :1
                                                :7
                                                       3 IO Airplane
                                                       31 5 Airplane Product
                                                                                          :7 365 Personal lnjUJY •
                                                                                                  Product Liabilil)'
                                                                                                                                 of Properl)' 21 IJSC 881
                                                                                                                          :7 690 Other
                                                                                                                                                               :7 42 l Withdrawal
                                                                                                                                                                       28l'SC'I57
                                                                                                                                                                                                      :7 F6Qw Taro(l] l\C'
                                                                                                                                                                                                               3729(a))
 :7 140         Nego!lable Instrument                        l1ab1hl)'                    :7 367 Health C'arei                                                                                        :7 400 State Reapport1onmen1
 :7 I 50        Recovery of 0vel])ayment        CJ     l20 Assault, Libel &                      Pharmaceullcal                                                                                       :J 410 Antitrust
                                                                                                                                                               CJ 820 Copynghts                       :7 4 30 Banks and Ban.long
     "J
                & f.nforcement of Judgment
          J 5 1 Medicare Act                    '."I
                                                             Slander
                                                       330 Federal Employers
                                                                                                 Personal lnJury
                                                                                                 Product I .iabihl)'                                           :7 8 30 Patent                         :"J 450 C'ommerc.e             .~ ...
     7    ! 52 Recovery of Defaulted                         Liabthl)'                    :7 368 Asbestos Personal                                             :7 83 5 Patent • Abbre>1ated           :"J 460 Deportallon
                Student Loans                   7      340 Manne                                  lnJury Product                                                       New Drug Apphcanon             :7 4 70 Racketeer !ntluen....eO and
                (r xcludes Veterans)            :7     34 5 Manne Product                        I 1ab1hl)'                                                    '"J 840 Trademark                              Cormpt OrgamzatJons
 :7       I 5 3 Recovery of 0, el])ayment                    Liabthl)'                      PERSONAL PROPERTY                                                                                     ~   :1 480 Consumer l redit
                of Veteran s Benefits           :7     350 Motor Vehicle                  :7 370 Other Fraud              '"J 710 Fair Labor Standards         :J 86 I HIA (I 395ft)                          ( 151 SC 1681 or :6911
     7    160 Stockholders Smts                 :7     35 5 Motor Velucle                 :J 371 Truth m Lcndmg                   Act                          '"J 862 Black Lung (923 I              :7 485 Telephone ( onsniner
     7    I 90 0dier Contract                               Product Liab1hl)'             :7 380 Other Personal           :7 720 labor/Management              :, 863 mwcmww C405(gll                         Protec:uun A1. r
 :7       195 Contract Produc:t L1ab1hty        :J     360 Other Personal                        Properl)' Damage                 Rela11ons                    :1 864 ssm T,tlo XVI                   :7 490 Cable/Sat TV
 :1       196 Franc:hise                                    Injury                        :7 385 Properl)' Damage         :7 740 Rmlwa} Labor Act              :J 865 RSI (405(g))                    ::1 850 Sec:W1bes/Cornmodn1es/
                                                :7     362 Personal Injury •                     Product L1ab1h1:j,       :7 75 I Farmly and Medical                                                          Fxchange
                                                            Medical Maloracnce                                                    Leave Act                                                           "'l 890 Other 5tatuto1y Acuons
 I                                                                                                                        :J 790 Other Labor L11Igabon                                                :J 891 Agncultural Ac.ts
     7 ?IO l and Condemnation                   :7 440 Other CIVIi Rights                    Habeas Corpus,               :7 791 fmployee Rellrement           :7 870 I axes ({_; S Plaintiff         :7 891 E.nvrronmental Matters
     7 12(; Foredosure                          :7 441 Voling                             :J 463 Aben Detainee                   Income Secm11)' Act                       or Defendant)              :7 895 Freedom of lnfonnat,on
     7 2 W Rent I ,ease & f.1ectment            :7 2 F.mployment                          :7 510 Mollons to Vacate                                             :7 871 IRS-Thrrd Part),                        Act
     , ?40 Iurtsto I.and                                                                                                                                                                              :J 896 Arb,trallon
     7 '4 (,, Ton Produ, t L1ab1 l 1ty
     7 Z90 All Other Real Property
                                                '       Housmg/
                                                        Acc.onunodallons
                                                                                      Sentence
                                                                              :7 530 General
                                                 1 445 Arner w 'D1sab1h11es • cl 5 3, Death Penall)'
                                                                                                                                                                           26 LSC 7609
                                                                                                                                                                                                      :7 899 Adtrumstra!Jve Procedure
                                                                                                                                                                                                              Act/Rev1ew or Appeal of
                                                        Rmployment               Other·                                   :7 462 NaturahzatJon Apphcabon                                                      Agency Deus10n
                                                 it 446 Amer w/D1sab1h1Ies - :7 540 Mandamus & Otl1er                     :J 465 Other lmrmgrallon                                                    :7 950 Conslltunonal11:j, ot
                                                        Other                             n
                                                                                 550 Civil Rights                                A.c.:tlons                                                                   State Statutes
                                                :1 44! Educa11on              :7 555 Pnson Condillon
                                                  \.J                         :7 560 ClVII Detamee ·
                                                                                      Condtllons of
                                                                                      Confinement

 V. 0 UGIN                  IP/ace an X m One Box On!,)

~ngmal                           ~2          Removed from                       ~    3   Remanded from            ~4 Reinstated or            ~   5   Transferred from           ~6      Mult1d1stnct           ~       8 Mult1d,stnct
   roceedmg                                  State Court                                 Appellate Court                  Reopened                    Another D1stnct                    L1t1gat1on •                    L1t1gat1on -
                                                                                                                                                      (specify)                          Transfer                        Direct File
                                                                                                                                                                                                             ----
 VI. CAt:SE OF ACTION'
                                                           Cite the C S C1v1l Statute under wh,ch you are filmg (Do not cilejurisdiclional statutes unless diversity1
                                                           Title Ill of Americans with D1sab1l1t1es Act                                                                                                      /\
                                                           Bnef description of cause
                                                                                                                                                                                                                         }
 VII. REQL'ESTED IN
      COMPLAINT:                                           "'          CHKK U THIS IS A CLASS ACTION
                                                                       CNDER RULE 23. FR Cv P
                                                                                                                             DEMAND$                                         CHECK YES only 1f derr m~complamt
                                                                                                                                                                             Jl'.RY DEMAND:                '~       s         ~No

 VIII. RELATED CASE(S)
       IF A:!'lY
                                                                (See mstruc ttons1
                                                                                         JCDGE                                                                                                            FEB 14 2020
 [)Alf                                                                                        SJGNA Tl 'RE OF A ITORNEl' OF
     02/11/2020                                                                               /s/ David S Glanzberg
 FOR OFFKF IJSF O1\ILY

          RfCUPT    #                        AM0L'N1                                             APPL YIM, IF P                                   ll'DGE.                                MAG JCDGF
                             Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 2 of 21
                                                              t:~lTED STATES DISTRICT COt:RT
                                                        FOR THE EASTER""I DISTRICT OF PENNSYLVANIA                                        20                     853
                                                                            DESIG;'IIATION FORl\1
                       (to be used by counsel or prose platnttff to md1cate the category of the case for the purpose of assignment to the appropriate calendar}

Address of Plaintiff:                                    7203 Centennial Station, Warminster, PA 18974
Address of Defendant:                             1600 Baltimore Ave, Suite 200A, Kansas City, MO 64108
                                               ------
Place of Accident, Incident or Transaction: _ _ _ _ __                                                     Bucks County
                                                                                                                        -----------

RELATED CASE, IF ANY:

Case Number·                                                       Judge:                                                      Date Termmated.

Civil cases are deemed related when Yes 1s answered to any of the followmg questions:

 I.   Is this case related to property included m an earlier numbered suit pending or withm one year                              YesD                No[3'
      previously terminated action in this court?

2.    Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                           YesD                    No0
      pending or within one year previously terminated action in this court?

3     Does this case mvolve the validity or infrmgement of a patent already in suit or any earlier                                YesO                    No@
      numbered case pending or within one year previously termmated action ofth1s court?

4.    Is this case a second or successive habeas corpus, social security appeal, or pro se civil nghts                            YesD                    No~
      case filed by the same individual?

I certify that, to my knowledge, the within case                                                    y case now pending or withm one year previously terminated action in
this court except as noted above

DATE
                                                                                                                                            Attorney ID   #   (if applicable)


CIVIL: (Place a ✓ in one category only)

A.           Federal Question Cases:                                                          B.      Diversity Jurisdiction Cases:

••           Indenmity Contract, Marme Contract, and All Other Contracts
             FELA
                                                                                              ••      1.
                                                                                                      2.
                                                                                                           Insurance Contract and Other Contracts
                                                                                                           Airplane Personal Injury
 ••          Jones Act-Personal lnJury
             Antitrust
                                                                                               ••     3
                                                                                                      4.
                                                                                                           Assault, Defamation
                                                                                                           Marme Personal Injury

B            Patent
             Labor-Management Relations
                                                                                             ••       5.
                                                                                                      6.
                                                                                                           Motor Vehicle Personal Injury
                                                                                                           Other Personal Injury (Please specify)
•            Civil Rights                                                                       •     7.   Products Liability
•            Habeas Corpus                                                                      •     8.   Products Lrnbility - Asbestos
             Securities Act(s) Cases
             Social Security Review Cases
                                                                                                •     9    All other Diversity Cases
                                                                                                           (Please specify) _ _ _ _
             All other Federal Question Cases
             (Please specify) ~!!!encans with p1sab1hties Act~6)_



                                                                             ARBITRATION CERTIFICATION
                                                     (The effect of this certification ts to remove the case from eltg1b1hty for arbitration}

 I,          David         s. Glanzbe_rg____, counsel of record or prose plamuff, do hereby certify
               ursuant to Local Civil Rule 53 2, § 3(c) (2), tha th est o                 y knowledge and belief, the damages recoverable in this civil action case
               xceed the sum of $150,000.00 exclusive of intere    d

                   oli,f otho, Ihm, moo- dmMg~ ~ oought                  ~
                                                                                                                                                     FEB 14 2020
DATE        02/10/2020 _ _ _ _ _ __                                                                                                             PA 50820
                                                                            Attorney-at-Law I Pro Se Platnttff                              Attorney ID   #   (ifapplicable)

NOTE A tnal de novo will be a tnal by Jury only 1fthere has been compliance with FR C P 38

Civ 609 {512018)
       Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 3 of 21



                     / IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                   CASE MANAGEMENT TRACK DESIGNATION FORM
JOHN MAHONEY, on behalf of himself and                                      CMLACTION
all others similarly situated
                          V.
                                                                                    20            853~
CBD AMERICAN SHAMAN, LLC,                                                   NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                            ( )

(b) Social Security- Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                  ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                           ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)




    02/10/2020                                                       John Mahoney
Date                                                                    Attorney for
 (215) 981-5400                                                      david glanzberg@gtlawpc com

Telephone                           FAX Number                          E-Mail Address


(Civ. 660) 10/02
             Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 4 of 21




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
JOHN MAHONEY, on behalf of himself and all :
others similarly situated,                                             :
                                                                       :
                               Plaintiffs,                             :
                                                                       :
                               v.                                      :   CLASS ACTION COMPLAINT
                                                                       :      FOR INJUNCTIVE AND
CBD AMERICAN SHAMAN, LLC,                                              :     DECLARATORY RELIEF
                                                                       :
                              Defendant.                               :
                                                                       :
                                                                       :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                                                    INTRODUCTION
1.        Plaintiff JOHN MAHONEY (“Plaintiff” or “MAHONEY”), on behalf of himself and

          others similarly situated, asserts the following claims against Defendant CBD

          AMERICAN SHAMAN, LLC as follows.

2.        Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in the

          United States are visually impaired, including 2.1 million who are blind, and according to

          the American Foundation for the Blind’s 2016 report, approximately 300,000 visually

          impaired persons live in the State of Pennsylvania.

3.        “Being unable to access website puts individuals at a great disadvantage in today’s society,

          which is driven by a dynamic electronic marketplace and unprecedented access to

          information.” U.S. Dep’t of Justice, Statement of Eve L. Hill before the Senate Comm. on

          Health, Educ., Labor & Pensions, at 3 (May 14, 2013).

4.        Plaintiff is a blind, visually-impaired handicapped person and a member of a protected

          class of individuals under the




                                                                -1-
       Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 5 of 21




5.   ADA, under 42 U.S.C. § 12102(1)-(2), and the regulations implementing the ADA set

     forth at 28 CFR §§ 36.101 et seq.

6.   Plaintiff requires screen-reading software to read website content using his computer.

     Plaintiff uses the terms “blind” or “visually-impaired” to refer to all people with visual

     impairments who meet the legal definition of blindness in that they have a visual acuity

     with correction of less than or equal to 20 x 200.

7.   Plaintiff brings this civil rights action against Defendant to enforce Title III of the

     Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“Title III”), which requires,

     among other things, that a public accommodation (1) not deny persons with disabilities the

     benefits of its services, facilities, privileges and advantages; (2) provide such persons with

     benefits that are equal to those provided to nondisabled persons; (3) provide auxiliary aids

     and services—including electronic services for use with a computer screen reading

     program—where necessary to ensure effective communication with individuals with a

     visual disability, and to ensure that such persons are not excluded, denied services,

     segregated or otherwise treated differently than sighted individuals; and (4) utilize

     administrative methods, practices, and policies that provide persons with disabilities equal

     access to online content.

8.   By failing to make its Website available in a manner compatible with computer screen

     reader programs, CBD AMERICAN SHAMAN, LLC, a public accommodation subject to

     Title III, deprives blind and visually-impaired individuals the benefits of its online goods,

     content, and services—all benefits it affords nondisabled individuals—thereby increasing

     the sense of isolation and stigma among these Americans that Title III was meant to redress.




                                              -2-
        Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 6 of 21




9.    Upon information and belief, because CBD AMERICAN SHAMAN, LLC’s Website has

      never been accessible and because CBD AMERICAN SHAMAN, LLC does not have, and

      has never had, an adequate corporate policy that is reasonably calculated to cause its

      Website to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and

      seeks a permanent injunction requiring:

             a. that CBD AMERICAN SHAMAN, LLC retain a qualified consultant
                acceptable to Plaintiff (“Mutually Agreed Upon Consultant”) who shall assist
                it in improving the accessibility of its Website so the goods and services on
                them may be equally accessed and enjoyed by individuals with vision related
                disabilities;

             b. that CBD AMERICAN SHAMAN, LLC work with the Mutually Agreed Upon
                Consultant to ensure that all employees involved in website development and
                content development be given web accessibility training on a periodic basis,
                including onsite training to create accessible content at the design and
                development stages;

             c. that CBD AMERICAN SHAMAN, LLC work with the Mutually Agreed Upon
                Consultant to perform an automated accessibility audit on a periodic basis to
                evaluate whether CBD AMERICAN SHAMAN, LLC’s Website may be
                equally accessed and enjoyed by individuals with vision related disabilities on
                an ongoing basis;

             d. that CBD AMERICAN SHAMAN, LLC work with the Mutually Agreed Upon
                Consultant to perform end-user accessibility/usability testing on a periodic
                basis with said testing to be performed by individuals with various disabilities
                to evaluate whether CBD AMERICAN SHAMAN, LLC’s Website may be
                equally accessed and enjoyed by individuals with vision related disabilities on
                an ongoing basis;

             e. that CBD AMERICAN SHAMAN, LLC work with the Mutually Agreed Upon
                Consultant to create an accessibility policy that will be posted on its Website,
                along with an e-mail address and tollfree phone number to report accessibility-
                related problems; and

             f. that Plaintiff, their counsel and its experts monitor Defendant’s Website for up
                to two years after the Mutually Agreed Upon Consultant validates it is free of
                accessibility errors/violations to ensure CBD AMERICAN SHAMAN, LLC
                has adopted and implemented adequate accessibility policies.

10.   Web-based technologies have features and content that are modified on a daily, and



                                                -3-
        Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 7 of 21




      in some instances, an hourly, basis, and a one time “fix” to an inaccessible website will not

      cause the website to remain accessible without a corresponding change in corporate

      policies related to those web-based technologies. To evaluate whether an inaccessible

      website has been rendered accessible, and whether corporate policies related to web-based

      technologies have been changed in a meaningful manner that will cause the website to

      remain accessible, the website must be reviewed on a periodic basis using both automated

      accessibility screening tools and end user testing by disabled individuals.

                               JURISDICTION AND VENUE

11.   This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331 and 42

      U.S.C. § 12188.

12.   CBD AMERICAN SHAMAN, LLC purposefully targets and otherwise solicits business

      from Pennsylvania residents through its Website. Because of this targeting, it is not unusual

      for CBD AMERICAN SHAMAN, LLC to conduct business with Pennsylvania residents.

      In fact, the opposite is true: CBD AMERICAN SHAMAN, LLC clearly does business over

      the Internet with Pennsylvania residents, having entered into contracts with Pennsylvania

      residents that involve the knowing and repeated transmission of computer files over the

      Internet. See Gniewkowski v. Lettuce Entertain You, Order, ECF No. 123 (W.D. Pa Apr.

      25, 2017) clarified by Order of Court, ECF No. 169 (W.D. Pa. June 22, 2017) (Judge

      Schwab) (The court exercised personal jurisdiction over an out-of-forum defendant for

      claims its website is inaccessible to a visually disabled resident of the forum state.); see

      also Access Now Inc. v. Otter Products, LLC, Case No. 1:17-cv-10967-PBS (D.Mass. Dec.

      4, 2017) (exercising personal jurisdiction over forum-based plaintiff’s website accessibility

      claims against out-of-forum website operator).




                                               -4-
        Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 8 of 21




13.   Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the judicial

      district in which a substantial part of the acts and omissions giving rise to Plaintiff claims

      occurred.

14.   This Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201 and

      2202.

                                           PARTIES
15.   Plaintiff, at all relevant times, is and was a resident of Bucks County, Pennsylvania.

16.   Defendant is and was at all relevant times a Missouri Limited Liability Company doing

      business in Pennsylvania, including its location at 9 East 3rd Street, Bethlehem, PA 18015.

17.   Defendant’s stores, its Website and the goods and services offered thereupon, is a public

      accommodation within the definition of Title III of the ADA, 42 U.S.C. § 12181(7).

                                   NATURE OF ACTION
18.   The Internet has become a significant source of information, a portal, and a tool for

      conducting business, doing everyday activities such as shopping, learning, banking,

      researching, as well as many other activities for sighted, blind and visually-impaired

      persons alike.

19.   In today’s tech-savvy world, blind and visually impaired people have the ability to access

      website using keyboards in conjunction with screen access software that vocalizes the

      visual information found on a computer screen or displays the content on a refreshable

      Braille display. This technology is known as screen-reading software. Screen-reading

      software is currently the only method a blind or visually-impaired person may

      independently access the internet. Unless website are designed to be read by screen-reading

      software, blind and visually-impaired persons are unable to fully access website, and the

      information, products, goods and contained thereon.



                                               -5-
        Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 9 of 21




20.   Blind and visually-impaired users of Windows operating system-enabled computers and

      devices have several screen reading software programs available to them. Some of these

      programs are available for purchase and other programs are available without the user

      having to purchase the program separately. Job Access With Speech, otherwise known as

      “JAWS” is currently the most popular, separately purchased and downloaded screen-

      reading software program available for a Windows computer. Another popular screen-

      reading software program is NonVisual Desktop Access “NVDA.” Plaintiff uses the latter.

21.   For screen-reading software to function, the information on a website must be capable of

      being rendered into text. If the website content is not capable of being rendered into text,

      the visually-impaired user is unable to access the same content available to sighted users.

22.   The international website standards organization, the World Wide Web Consortium,

      known throughout the world as W3C, has published version 2.1 of the Web Content

      Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established guidelines for

      making website accessible to blind and visually-impaired people. These guidelines are

      universally followed by most large business entities and government agencies to ensure

      their website are accessible.

23.   Non-compliant website pose common access barriers to blind and visually-impaired

      persons. Common barriers encountered by blind and visually impaired persons include, but

      are not limited to, the following:

             a.      A text equivalent for every non-text element is not provided;

             b.      Title frames with text are not provided for identification and navigation;

             c.      Equivalent text is not provided when using scripts;

             d.      Forms with the same information and functionality as for sighted




                                              -6-
Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 10 of 21




    persons are not provided;

    e.      Information about the meaning and structure of content is not

    conveyed by more than the visual presentation of content;

    f.      Text cannot be resized without assistive technology up to 200%

    without losing content or functionality;

    g.      If the content enforces a time limit, the user is not able to extend,

    adjust or disable it;

    h.      Web pages do not have titles that describe the topic or purpose;

    i.      The purpose of each link cannot be determined from the link text

    alone or from the link text and its programmatically determined link context;

    j.      One or more keyboard operable user interface lacks a mode of

    operation where the keyboard focus indicator is discernible;

    k.      The default human language of each web page cannot be

    programmatically determined;

    l.      When a component receives focus, it may initiate a change in

    context;

    m.      Changing the setting of a user interface component may

    automatically cause a change of context where the user has not been advised before

    using the component;

    n.      Labels or instructions are not provided when content requires user

    input, which include captcha prompts that require the user to verify that he or she

    is not a robot;

    o.      In content which is implemented by using markup languages,




                                      -7-
       Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 11 of 21




             elements do not have complete start and end tags, elements are not nested according

             to their specifications, elements may contain duplicate attributes, and/or any IDs

             are not unique;

             p.       Inaccessible Portable Document Format (PDFs); and,

             q.       The name and role of all User Interface elements cannot be

             programmatically determined; items that can be set by the user cannot be

             programmatically set; and/or notification of changes to these items is not available

             to user agents, including assistive technology.

                                  STATEMENT OF FACTS
24.   Defendant       is   a    CBD      product      retailer   that   owns     and     operates

      www.cbdamericanshaman.com (its “Website”), offering features which should allow all

      consumers to access its goods and services throughout the United States, including

      Pennsylvania.

25.   Plaintiff is a visually-impaired and legally blind person, who cannot use a computer

      without the assistance of screen-reading software. Plaintiff is, however, a proficient NVDA

      screen-reader user and uses it to access the Internet.

26.   Plaintiff has attempted to use Defendant’s Website at least once in the past. Unfortunately,

      because of CBD AMERICAN SHAMAN, LLC’s failure to build its Website in a manner

      that is compatible with screen reader programs, he is unable to understand, and thus is

      denied the benefit of, much of the content and services he wishes to access or use. For

      example:

             a. Many features on the Website lacks alt. text, which is the invisible code

                  embedded beneath a graphical image. As a result, Plaintiff was unable to




                                               -8-
       Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 12 of 21




                 differentiate what products were on the screen due to the failure of the Website

                 to adequately describe its content.

             b. Many features on the Website also fail to Add a label element or title attribute

                 for each field. This is a problem for the visually impaired because the screen

                 reader fails to communicate the purpose of the page element. It also leads to the

                 user not being able to understand what he or she is expected to insert into the

                 subject field.

             c. The Website also contains a host of broken links, which is a hyperlink to a non-

                 existent or empty webpage. For the visually impaired this is especially

                 paralyzing due to the inability to navigate or otherwise determine where one is

                 on the website once a broken link is encountered.

27.   As a result of visiting CBD AMERICAN SHAMAN, LLC’s Website and from

      investigations performed on his behalf, Plaintiff is aware the Website include at least the

      following additional barriers blocking his full and equal use:

             a. The Website does not provide a text equivalent for every non-text element;

             b. The purpose of each link cannot be determined from the link text alone or from

                 the link text and its programmatically determined link context;

             c. Web pages lack titles that describe their topic or purpose;

             d. Headings and labels do not describe topic or purpose;

             e. Keyboard user interfaces lack a mode of operation where the keyboard focus

                 indicator is visible;

             f. The default human language of each web page cannot be programmatically

                 determined;




                                              -9-
       Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 13 of 21




             g. The human language of each passage or phrase in the content cannot be

                 programmatically determined;

             h. Labels or instructions are not always provided when content requires user input;

             i. Text cannot be resized up to 200 percent without assistive technology so that it

                 may still be viewed without loss of content or functionality;

             j. A mechanism is not always available to bypass blocks of content that are

                 repeated on multiple web pages;

             k. A correct reading sequence is not provided on pages where the sequence in

                 which content is presented affects its meaning;

             l. In content implemented using markup languages, elements do not always have

                 complete start and end tags, are not nested according to their specifications,

                 may contain duplicate attributes, and IDs are not always unique; and

             m. The name and role of all UI elements cannot be programmatically determined;

                 things that can be set by the user cannot be programmatically set; and/or

                 notification of changes to these items is not available to user agents, including

                 assistive technology.

28.   These barriers, and others, deny Plaintiff full and equal access to all of the services the

      Website offers, and now deter him from attempting to use the Website and/or visit CBD

      AMERICAN SHAMAN, LLC Still, Plaintiff would like to, and intends to, attempt to

      access CBD AMERICAN SHAMAN, LLC’s Website in the future to research the services

      the Website offers, or to test the Website for compliance with the ADA.

29.   Due to Defendant’s failure and refusal to remove access barriers to its website, Plaintiff

      and visually-impaired persons have been and are still being denied equal access to




                                             -10-
       Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 14 of 21




      Defendant’s Website, and the numerous goods and services and benefits offered to the

      public through the Website.

30.   If the Website were accessible, i.e. if CBD AMERICAN SHAMAN, LLC removed the

      access barriers described above, Plaintiff could independently research the Website’s

      offerings, including store locations and hours and promotions available at the CBD

      AMERICAN SHAMAN, LLC.

31.   Through his attempts to use the Website, Plaintiff has actual knowledge of the access

      barriers that make these services inaccessible and independently unusable by blind and

      visually-impaired people.

32.   Though CBD AMERICAN SHAMAN, LLC may have centralized policies regarding the

      maintenance and operation of its Website, upon and information and belief, CBD

      AMERICAN SHAMAN, LLC has never had a plan or policy that is reasonably calculated

      to make its Website fully accessible to, and independently usable by, individuals with

      vision related disabilities. As a result, the complained of access barriers are permanent in

      nature and likely to persist.

33.   The law requires that CBD AMERICAN SHAMAN, LLC reasonably accommodate

      Plaintiff’s disabilities by removing these existing access barriers. Removal of the barriers

      identified above is readily achievable and may be carried out without much difficulty or

      expense.

34.   Plaintiff’s above request for injunctive relief is consistent with the work performed by the

      United States Department of Justice, Department of Transportation, and U.S. Architectural

      and Transportation Barriers Compliance Board (the “Access Board”), all of whom have

      relied upon or mandated that the public-facing pages of website complies with an




                                              -11-
       Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 15 of 21




      international compliance standard known as Web Content Accessibility Guidelines version

      2.1 AA (“WCAG 2.1 AA”), which is published by an independent third party known as

      the Worldwide Web Consortium (“W3C”).

35.   Plaintiff and the Class have been, and in the absence of an injunction will continue to be,

      injured by CBD AMERICAN SHAMAN, LLC’s failure to provide its online content and

      services in a manner that is compatible with screen reader technology.

36.   CBD AMERICAN SHAMAN, LLC has long known that screen reader technology is

      necessary for individuals with visual disabilities to access its online content and services,

      and that it is legally responsible for providing the same in a manner that is compatible with

      these auxiliary aids.

37.   Indeed, the Disability Rights Section of the DOJ reaffirmed in a 2015 Statement of Interest

      before the United States District Court for the District of Massachusetts that it has been a

      “longstanding position” of the Department of Justice “that the ADA applies to website of

      public accommodations.” See National Association of the Deaf v. Massachusetts Institute

      of Technology, No. 3:15-cv-300024-MGM, DOJ Statement of Interest in Opp. To Motion

      to Dismiss or Stay, Doc. 34, p. 4 (D. Mass. Jun. 25, 2015) (“MIT Statement of Interest”);

      see also National Association of the Deaf. v. Harvard University, No. 3:15-cv-30023-

      MGM, DOJ Statement of Interest of the United States of America, Doc. 33, p.4 (D. Mass.

      Jun. 25, 2015) (“Harvard Statement of Interest”).

38.   The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this action. In

      relevant part, the ADA requires:

      In the case of violations of . . . this title, injunctive relief shall include an order to alter
      facilities to make such facilities readily accessible to and usable by individuals with
      disabilities . . . Where appropriate, injunctive relief shall also include requiring the . . .
      modification of a policy . . .



                                               -12-
        Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 16 of 21




42 U.S.C. § 12188(a)(2).

39.    There is no DOJ administrative proceeding that could provide Plaintiff with Title III

       injunctive relief.

40.    While DOJ has rulemaking authority and can bring enforcement actions in court, Congress

       has not authorized it to provide an adjudicative administrative process to provide Plaintiff

       with relief.

41.    Plaintiff alleges violations of existing and longstanding statutory and regulatory

       requirements to provide auxiliary aids or services necessary to ensure effective

       communication, and courts routinely decide these types of matters.

42.    Resolution of Plaintiff’s claims does not require the Court to unravel intricate, technical

       facts, but rather involves consideration of facts within the conventional competence of the

       courts, e.g. (a) whether CBD AMERICAN SHAMAN, LLC offers content and services on

       its Website, and (b) whether Plaintiff can access the content and services.

43.    Without injunctive relief, Plaintiff and other visually-impaired consumers will continue to

       be unable to independently use the Website, violating their rights.

                              CLASS ACTION ALLEGATIONS
44.    Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a nationwide

       class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the United

       States who have attempted to access Defendant’s Website and as a result have been denied

       access to the equal enjoyment of goods and services, during the relevant statutory period.

45.    Common questions of law and fact exist amongst Class, including:

               a.      Whether Defendant’s Website is a “public accommodation” under

               the ADA;



                                                -13-
       Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 17 of 21




              b.      Whether Defendant’s Website denies the full and equal enjoyment

              of its products, services, facilities, privileges, advantages, or accommodations to

              people with visual disabilities, violating the ADA.

46.   Plaintiff’s claims are typical of the Class. The Class, like Plaintiff, are visually impaired or

      otherwise blind, and claim that Defendant has violated the ADA by failing to remove

      access barriers on its Website so as to be independently accessible to the Class.

47.   Plaintiff will fairly and adequately represent and protect the interests of the Class Members

      because Plaintiff has retained and is represented by counsel competent and experienced in

      complex class action litigation, and because Plaintiff has no interests antagonistic to the

      Class Members.

48.   Class certification of the claims is appropriate under Fed. R. Civ. P. 23(b)(2) because

      Defendant has acted or refused to act on grounds generally applicable to the Class, making

      appropriate both declaratory and injunctive relief with respect to the Class as a whole.

49.   Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because fact

      and legal questions common to Class Members predominate over questions affecting only

      individual Class Members, and because a class action is superior to other available methods

      for the fair and efficient adjudication of this litigation.

50.   Judicial economy will be served by maintaining this lawsuit as a class action in that it is

      likely to avoid the burden that would be otherwise placed upon the judicial system by the

      filing of numerous similar suits throughout the United States.

                            FIRST CAUSE OF ACTION
                   VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.
51.   Plaintiff, on behalf of himself and the Class Members, repeats and realleges every

      allegation of the preceding paragraphs as if fully set forth herein.



                                                -14-
        Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 18 of 21




52.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

       No individual shall be discriminated against on the basis of disability in the full and equal
       enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of
       any place of public accommodation by any person who owns, leases (or leases to), or
       operates a place of public accommodation.

42 U.S.C. § 12182(a).

53.    Defendant’s Website is a public accommodations within the definition of Title III of the

       ADA, 42 U.S.C. § 12181(7). The Website is a service that is offered to the general public,

       and as such, must be equally accessible to all potential consumers.

54.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

       individuals with disabilities the opportunity to participate in or benefit from the products,

       services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

       12182(b)(1)(A)(i).

55.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

       individuals with disabilities an opportunity to participate in or benefit from the products,

       services, facilities, privileges, advantages, or accommodation, which is equal to the

       opportunities afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

56.    Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also includes,

       among other things:

       [A] failure to make reasonable modifications in policies, practices, or procedures, when
       such modifications are necessary to afford such goods, services, facilities, privileges,
       advantages, or accommodations to individuals with disabilities, unless the entity can
       demonstrate that making such modifications would fundamentally alter the nature of such
       goods, services, facilities, privileges, advantages or accommodations; and a failure to take
       such steps as may be necessary to ensure that no individual with a disability is excluded,
       denied services, segregated or otherwise treated differently than other individuals because
       of the absence of auxiliary aids and services, unless the entity can demonstrate that taking
       such steps would fundamentally alter the nature of the good, service, facility, privilege,
       advantage, or accommodation being offered or would result in an undue burden.




                                               -15-
         Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 19 of 21




42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

57.    The acts alleged herein constitute violations of Title III of the ADA, and the regulations

       promulgated thereunder. Plaintiff, who is a member of a protected class of persons under

       the ADA, has a physical disability that substantially limits the major life activity of sight

       within the meaning of 42 U.S.C. § 12102(1)(A)-(2)(A). Furthermore, Plaintiff has been

       denied full and equal access to the Website, has not been provided services that are

       provided to other patrons who are not disabled, and has not been provided any reasonable

       accommodation to those services. Defendant has failed to take any prompt and equitable

       steps to remedy its discriminatory conduct. These violations are ongoing.

58.    Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

       incorporated therein, Plaintiff, requests relief as set forth below.

                                SECOND CAUSE OF ACTION
                                  DECLARATORY RELIEF
59.    Plaintiff, on behalf of himself and the Class Members, repeats and realleges every

       allegation of the preceding paragraphs as if fully set forth herein.

60.    An actual controversy has arisen and now exists between the parties in that Plaintiff

       contends, and is informed and believes that Defendant denies, that its Website contains

       access barriers denying blind customers the full and equal access to the products, services

       and facilities of its Website, which Defendant owns, operations and controls, fails to

       comply with applicable laws including, but not limited to, Title III of the Americans with

       Disabilities Act, 42 U.S.C. § 12182, et seq. prohibiting discrimination against the blind.

61.    A judicial declaration is necessary and appropriate at this time in order that each of the

       parties may know their respective rights and duties and act accordingly.




                                                -16-
       Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 20 of 21




                                   PRAYER FOR RELIEF
      WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

62.   A Declaratory Judgment that at the commencement of this action CBD AMERICAN

      SHAMAN, LLC was in violation of the specific requirements of Title III of the ADA

      described above, and the relevant implementing regulations of the ADA, in that CBD

      AMERICAN SHAMAN, LLC took no action that was reasonably calculated to ensure that

      its Website is fully accessible to, and independently usable by, individuals with visual

      disabilities;

63.   A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR § 36.504(a) which

      directs Defendant to take all steps necessary to bring its Website into full compliance with

      the requirements set forth in the ADA, and its implementing regulations, so that its Website

      is fully accessible to, and independently usable by, blind individuals, and which further

      directs that the Court shall retain jurisdiction for a period to be determined to ensure that

      Defendant has adopted and is following an institutional policy that will in fact cause it to

      remain fully in compliance with the law—the specific injunctive relief requested by

      Plaintiff is described more fully in paragraph 8 above;

64.   An award of costs and expenses of this action;

65.   Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR §

      36.505, including costs of monitoring Defendant’s compliance with the judgment (see

      Hadix v. Johnson, 143 F.3d 246 (6th Cir. 1998), aff'd in part, rev'd in part, 527 U.S. 343

      (1999); Jenkins v. Missouri, 127 F.3d 709 (8th Cir. 1997); Walker v. U.S. Dep't of Hous.

      & Urban Dev., 99 F.3d 761 (5th Cir. 1996); Stewart v. Gates, 987 F.2d 1450, 1452 (9th

      Cir. 1993) (district court should permit compensation for the post judgment monitoring

      efforts by the plaintiff’s counsel that are “useful and necessary to ensure compliance with


                                              -17-
          Case 2:20-cv-00853-GJP Document 1 Filed 02/14/20 Page 21 of 21




         the court's orders”); Garrity v. Sununu, 752 F.2d 727, 738-39 (1st Cir. 1984); Adams v.

         Mathis, 752 F.2d 553 (11th Cir. 1985); Willie M. v. Hunt, 732 F.2d 383, 385, 387 (4th Cir.

         1984); Bond v. Stanton, 630 F.2d 1231, 1233-34 (7th Cir. 1980); Northcross v. Board of

         Educ., 611 F.2d 624, 637 (6th Cir. 1979) (“Services devoted to reasonable monitoring of

         the court's decrees, both to ensure full compliance and to ensure that the plan is indeed

         working…are essential to the long-term success of the plaintiff's suit.”) (citing 3rd Circuit’s

         support for District Court’s award of prospective fees to plaintiff’s counsel);

66.      An order certifying the Class under Fed. R. Civ. P. 23(a) & (b)(2) and/or (b)(3), appointing

         Plaintiff as Class Representative, and his attorneys as Class Counsel; and

67.      Such other and further relief as this Court deems just and proper.


Dated:      Philadelphia, Pennsylvania
            February 10, 2020


                                                         GLANZBERG TOBIA LAW, P.C.

                                                         By: /s/ David S. Glanzberg
                                                         David S. Glanzberg, Esq.
                                                         david.glanzberg@gtlawpc.com
                                                         123 South Broad Street, Suite 1640
                                                         Philadelphia, PA 19109
                                                         Tel: (215) 981-5400
                                                         Fax: (267) 319-1993
                                                         ATTORNEYS FOR PLAINTIFF




                                                  -18-
